Case 1:15-cv-00033-MAB Document 45 Filed 04/28/21 Page 1 of 2

UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. MARK A. BARNETT, CHIEF JUDGE

 

DANZE, INC., & GERBER PLUMBING FIXTURES

LLC.,
Plaintiffs,
v.
UNITED STATES OF AMERICA,

Defendant.

X

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Consol. Court No. 15-00033
and the cases identified in the
schedule attached hereto

X

STIPULATION OF DISMISSAL

PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the
United States Court of International Trade, having filed a stipulation of dismissal signed by all
parties who have appeared in this consolidated action, as well as the action and consolidated
action listed on the attached schedule, hereby dismisses this consolidated action, and the
action and consolidated action listed on the attached schedule, with prejudice.

Respectfully submitted,

/s/ John M. Peterson

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Dated: April 2+ 2021

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Schedule to Stipulation of Dismissal

 

Court Number Plaintiff(s) Name Protest Number(s) Entry Number(s)
or Claim Number(s) (if applicable)
(if applicable)

 

Consol. Court No. AS America, Inc.
14-164

45-274 Western Pottery Group
Inc.

 

 

 

 

 

Order of Dismissal
This consolidated action and those actions and consolidated actions listed on the
schedule set forth above, having been voluntarily stipulated for dismissal by all parties
having appeared in the action, are dismissed with prejudice.

Dated:

 

Clerk, U. S. Court of International Trade

By:

 

Deputy Clerk

 
